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12                        IN THE UNITED STATES DISTRICT COURT
13
                                FOR THE DISTRICT OF ARIZONA
14
15   Luticia Taylor, on behalf of herself and all ) No. 2:17-cv-01710-DGC
     others similarly situated,                   )
16                                                ) NOTICE OF SETTLEMENT
17                 Plaintiff,                     )
                                                  )
18   v.                                           )
19                                                )
     First Advantage Background Services          )
20   Corp.,                                       )
21                                                )
                   Defendant.                     )
22                                                )
23
24                 Defendant FIRST ADVANTAGE BACKGROUND SERVICES CORP.,
25   by and through its attorneys and pursuant to LRCiv 40.2(d), hereby provides notice that
26   the parties have settled this matter.
27                 The parties are preparing a settlement agreement and will forward to the
28   Court a stipulation to dismiss and a proposed order after the agreement is executed.



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 1                              DATED this 23d day of February, 2018.
                                             GALLAGHER & KENNEDY, P.A.
 2
                                             By:/s/ Donald Peder Johnsen
 3
                                                  Attorneys for Defendant
 4
     I certify that on this 23d day of February, 2018, I electronically transmitted a PDF
 5   version of this document to the Clerk of Court, using the CM/ECF System, for filing and
 6   for transmittal of a Notice of Electronic Filing to the following CM/ECF registrants:
     Susan Mary Rotkis (032866)
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     Leonard A. Bennett (admitted pro hac vice)
 8   Attorneys for Plaintiff
     /s/ Donald Peder Johnsen
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